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                      Exhibit 19Z
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                     WruCnf, MOORno DpHART, DUpUTS & HUTCHINSON) L.L.C.
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                                                                              .
                                                                P.O. Box 80569 Lafayette, Louisiana 70598-0569
                                                                      (337) 232-363't . Fax (337) 235-8557
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JOHN W.IVRIGHT, CPA *
                                  *
JAMES H. DUPUIS, CPA, CFP

JAN H. COWEN, CPA *                                        January 17,2013
                                           *
LANCE E. CRAPPELL, CPA, CGMA

MICAH R. VIDRINE, CPA *

TRA!'IS M. BRINSKO, CPA *
                                               *
RICK L. STUTES, CPA, CVA/ABV' APA
                                                           By way of introduction my name is Rick Stutes Certified Public Accountant
CHRISTINE R. DUNN, CPA**                                                                                                     services to clients.
                                      **                   1óf,t;-providing business consulting and specialized business
DAMIAN H. SPIESS, CPA, CFP
                                                           i am.rersed in ail aspects of accounting services including business consulting,
JOAN MÄRTIN, CPA, CVA, CFF' DABFA**
                                                           management advisoiy, controllership services and related tax planning' I have
BRIDGET B. TILLEY, CPA, MT*"                               or,,", 15 years of experience servicing a variety of businesses in various
                                                           industriés including oil & gas exploration and related services, professional
* A PROFESSTONAL CORPORÁTION
** A LIMITED LIABILITY COMPANY                             services firms, retail and wholesale distribution, construction, banking,real
                                                           estate and non-pr offt ot garrizations.
M. TROY MOORE, CPA * +
                                 *
MICHAEL G. DEIIART, CPA' CVA' MBA +
                       *
JOE D. HUTCHINSON, CPA +                                   In addition to a CPA, I am also a Certified Valuation Analyst (CVA) and
                                                           Accredited in Business Valuation (ABV), performing business valuations and
+R-ETIRED                                                  utilizing these valuations skills to assist existing business clients with their
                                                           growthäd phnning strategies. My experience includes merger and acquisition
                                                           ãngagements including assisting clients with selling their business or due
                                                           diùgãnce reviews of potential business purchases. tn addition, I am also
                                                           invõlved in litigationsupport services and court appointed positions concerning
                                                           financial matters. I have also achieved an Accredited Petroleum Accountant
STEPHANIE A. BLANK, CPA
                                                           (APA) professional designation specific to the oil & gas industry and am a
ROBERT T. DUCHÁRME' II' CPA
                                                           member of COPAS (Council of Petroleum Accountants Societies).
MARY PÀTRICIA KEELEY, CPÀ

ROBIN T. LeBLANC, CPA
                                                           This declaration is in response to your request for information related to the issue
TAT{YA L. MIGUES, CPA
                                                           described below.
WENDY ORTEGO, CPA, CVA

 ROBIN G. STOCKTON, CPA
                                                           Issue: BP's January 8r 2013 Response To Class counsel's December 16,
 TINA B. VTATO& CPA
                                                           ãõt-2p"q.rest for nóncy Determination and BP's supplemental submission
                                                           on January 11' 2013.

                                                           In conjunction with the issue above, and before me, the undersigned authority,
                                                           personally came and appeared Rick Stutes who after being duly swom did
                                                           depose and state:

                                                                    1. That my introduction stated above is accurate'
                                                                    2. That my most recent Curriculum Vitae is attached hereto.


    recommending any td-related matter addressed herein'
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                                                                                                services
   3. That I have rendered professional accounting services, business and litigation consulting
                                                                                         companies,
           to numerous businesses in various fields including, but not limited to, construction
                                                                                         for example) retail
           agricultural entities, professional services firms (law firms and physicians,
                                                                                    past 35 years.
           oierations, wholesalã operations and tourism related entities over the

    4. That I have extensively analyzedthe Deepwoter Horizon Economic and Properly Damages
                                                                                   and at length
           Settlement Agreement ("Agreement") an-d have discussed its terms in
                                                                               great detail
           with attorneys and claimants, Program Vendors and other CPAs.
                                                                                                due to the
    5. That I have been retained by claimants and numerous attorneys to calculate theofamount
                                                                                        the claims to the
           claimants under the terms of the Agreement and to assist with the submission
           Court-Supervised Settlement Program'

    6. That Bp,s accounting methodology proposed in their Response is inconsistent with Principles
                                                                                        the cash basis
                                                                                                   or
            of accounting, the acãrual basis Jf aðcounting using General Accepted Accounting
            any other accáunting model and suggest the use of threshold test using
                                                                                   allocation methods
            inconsistent with the Settlement Agreement'

                                                                                    but requires both
    7. That Bp,s accounting methodology proposed in their Response is not objective
                                                                                or guesses relying, in
            the Claimants and thã program v-""åorr to make subjective determinations
                                                                                       income revenue
            many cases, on nonexist"ñt ot fictional support. There is no acceptable
                                                                              month   when  the ultimate revenue is
            recognition methodology for allocating revenue to a particular
                                                                                               to use subjective
            unknown. That methoãology would rãquire Program Vendors and Claimants
                                                                      revenue for example;   an attorney who began
            determinations to estimate the amount oicontingency
                                                                                                 before 2014'
            work on a case during pre-spill periods that has not and will not settle that case
                                                                                          future? In reality, at the
            What is the expecte{revenue? What additional costs are expected in the
                                                                                             to not only project and
            time of claim submission, the program Vendors and Claimants are required
            agree upon the amount of contingäcy fee to be ultimately earne
                                                                                d in20l4' but also to project the
                                                                                        would invite substantial
             amount of work to be performed-by tie attorney claimant. This process
                                                                                                  and even more
             effort for the programïendors aná Chimants to achieve a definitive conclusion
                                                                                         to  mediate  that
             effort when a conclusion is not achievable. V/ill a third party be required
                                                                                        BP is nonsensical'
             conclusion and atwhose costs? That particular process as proposed by

     g. That Bp,s accounting methodology proposed in their Response is impractical, unworkable and
             inconsistent with the terms of the Agreement'

      g. That I have prepared claims under the Settlement Agreement for other Claimants using the cash
                                                                                           in-this matter which the
             basis of accounting as contemporaneously prepared-by the Claimants-
                                                                            and which BP has accepted (i'e',
             Settlement prograä recognized and determìned to be appropriate
             not appealed oidropped their appeal) and allowed to be paid.

                                                                                     creates two separate evaluation
      10. That Bp,s accounting methodology proposed in their Response
                                                                                                  Loss Frameworks:
             models for claims under the exaJsame Seulcment Agreement Economic

                                                                                                  support such as
                     a. Claims processed using objective criteria that have adequate documentary
                                                                                      statements using widely
                            income tax returns and coritemporaneously prepared financial
                                                                                           or
                            accepted accounting methodology such as the cash basis or GAAP

                                                                                        for which adequate
                     b. Claims processed using the methodology currently proposed by BPmethodology based upon
                             support does not exist, uses an arbitrar! and contrived accounting

recommending any tax-related matter addressed herein'
          Case 2:10-md-02179-CJB-DPC Document 8963-79 Filed 03/20/13 of
                                                                     Page   4 of 10
                                                                        revenues and  projections
                       hypothetical formulas, subjective allocations and futuristic
                        expenses.


   11. That the Bp suggested method would require
                                                       all claimants to submit claims using a methodology
                                                                      is no contemporaneously prepared
          for which support may not be availabl" uï¿ for which there
          information.
                                                                      claimants who have already been
    12.Thatthe Bp suggested method would also discriminate against
                                                                          method may also have resulted
       paid by BP and signed final releases. The use of the BP suggested
                                                                        are unable to receive as final
       in greater amountã owed those claimants which those claimants
       releases have been executed. In order to fairly
                                                       implement the BP suggested method, BP would
                                                                 have executed f,tnal releases using
       properly reopen the claim process to those cúimants who
                                                                    prepared and supported
       objective accounting methodologies and contemporaneously
                                                                     methodology proposed by BP
       documentation and tax returns who wish to use ihe subjective
           currentlY.

                                                                            11, 2013 supplemental submission are
    13. That the threshold tests proposed by BP in its January
        arbitary and not reflected in the Agreement'
                                                               I have reviewed (as well as several Appeal
     14. Based on the Response and supplemental submission
                                                                    that Bp wants to effectively rewrite the
           Notices submitted to the program urgpj, ii is my opinion
                      with a subjective and inherently unworkable methodology.




                                 CVA/ABV, APA                       January 17,2013



Sworn to and subscribed                                thi, ll1& day of Janu arY,2or3'

Noiary Publi
          Bridoet TilleY
          NotaiY Fublia #60663




 i"com."nding any tu-related matter addressed hçrein
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                                                                          EXHIBIT C



                              CURRICULUM VITAE

                 RICK STUTES CPA, CVA/ABV, APA, CFF
                      Wright, Moore, DeHart, Dupuis & Hutchinson, LLC
                                    100 Petroleum Drive
                                    Lafayette, LA 70508
                                      (337) 232-3637

EXPERIENCE

WRIGHT, MOORE, DEHART, DUPUIS & HUTCHINSON, LLC (WMDDH) (Feb. 2002-
Present)

     PARTNER: Merged prior accounting practice with WMDDH. Specializing in the
     energy industry, business valuations along with tax and accounting services. Rick
     Stutes CPA, CVA/ABV, APA, CFF has over 30 years experience.

     March, 2009, Rick received the CFF designation which is Certified in Financial
     Forensics awarded by the American Institute of Certified Public Accountants. The
     CFF credential is granted exclusively to CPA’s who demonstrate expertise in
     specialized forensic accounting skills including bankruptcy and insolvency; computer
     forensics; economic damages and fraud investigations.

     February 2007, Rick received the ABV designation which is Accredited in Business
     Valuations awarded by the American Institute of Certified Public Accountants. The
     ABV credential is granted exclusively to CPA’s who elect to demonstrate their
     business expertise and experience in the business valuation area.

     October 2006, Rick received the APA designation which is an Accredited Petroleum
     Accountant. This designation is sponsored by COPAS and is achieved by successfully
     completing eight accounting modules relating to the energy industry. Rick also
     received the Jon Gear Meritorious Achievement Award from COPAS, earning the
     award by recording the highest scores nationwide on APA exams for anyone
     completing the certification process in 2006.

     December 1995, he received the CVA designation which is a Certified Valuation
     Analysis awarded by the National Association of Certified Valuation Analysts. Since
     receiving the accreditation, Rick has assisted clients in merger, acquisition and sales of
     businesses with the majority of transactions associated with the oil & gas and pipeline
     businesses.
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      During the period October 1978 to December 1987, he was employed with Celeron
      Corporation and reported to the Senior Vice President of Finance and was the Director
      of Economic Evaluation, Planning & Budgets. Responsibilities included preparation of
      budgets and economic valuations of Celeron Oil and Gas Company and Celeron
      Pipeline which were associated with oil & gas exploration, gas pipelines, gas
      transportation and local distribution companies. Prior to the Director position, he
      worked in all areas of the oil & gas business from joint interest billing to revenue
      distribution to taxation and operations audits.




RICK STUTES, CPA, LTD. (January 1988 – January 2002)
(A Professional Accounting Corporation)

      PRESIDENT: Accounting, tax, consulting, software design and valuation services for
      a wide range of clientele. Specializing in mergers, acquisitions, valuations and related
      due diligence projects. December 1995 received the CVA designation and actively
      providing valuation services to clients in merger, acquisition and sales of businesses.
      Since 1988 have been associated with transactions exceeding $135 million. The
      majority of transactions are associated with the oil and gas and pipeline businesses, but
      others include the professional services industry, the medical industry and
      telecommunications.

   CELERON CORPORATION (October 1978 – December 1987)
   Lafayette, Louisiana

      DIRECTOR OF ECONOMIC EVALUATION, PLANNING & BUDGETS:
      Report to the Senior Vice President of Finance. Responsibilities included preparation
      of budgets and economic evaluation of Celeron Oil and Gas Company and Celeron
      Pipeline, which are associated with gas pipelines, gas transportation, and local
      distribution companies. Extensive work in acquisitions and divestitures of oil and gas
      properties exceeding $500 million. Prior to the Director position worked in all areas
      of the oil and gas business from joint interest billing to revenue distribution to taxation
      and operations audits.

EDUCATION & CERTIFICATIONS

      Certified in Financial Forensics (CFF), March 2009
      Accredited in Business Valuation (ABV), February 2007
      Accredited Petroleum Accountant (APA), October 2006
      Certified Valuation Analyst (CVA), December 1995
      Certified Public Accountant (CPA), January 1981
      Notary Public in Lafayette Parish, December 1978
      B.S. in Business Administration, Major – Accounting
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       University of Southwestern Louisiana, December 1977,




PROFESSIONAL AFFILIATIONS & ORGANIZATIONS

       Member of ACFE (Association of Certified Fraud Examiners)
       President of COPAS of Acadiana 2005-2006
       Member of COPAS (Council of Petroleum Accountants Society) of Acadiana
       Member of the AICPA (American Institute of Certified Public Accountants)
       Member of the Louisiana State Society of Certified Public Accountants
       Member of the NACVA (National Association of Certified Valuation Analysts)


VALUATION SERVICES ALONG WITH DEPOSITION AND TESTIMONY

       Lynn Mary Loveless John vs Raymond Mark John; Sixteenth Judicial District Court,
St Mary Parish, Louisiana, Docket No. 106875 C. Valuation of closely held corporation
along with deposition, settled out of Court.

       Valuation and due diligence related to acquisition of approximately $100 million in oil
& gas producing properties. Deposition related to legal proceedings, settled out of court.

        Valuation related to determining gas underpayments for a period of 8 years,
represented the producer in an action against a major pipeline company. Deposition related to
legal proceedings, settled out of court.

Valuation, mediation and deposition related to the Dissolution of the Marriage of Holly Ellen
Berry and Lee Forrest Berry in the Chancery Court of the First Judicial District of Hinds
County, Mississippi Civil Action no G2003-1052 0/3, settled at mediation.

       Court Appointed – Randy J. Simon vs. Kim M. Simon; Fifteenth Judicial District
Court Docket No. 20091068, Parish of Lafayette, Louisiana. Valuation of closely held
corporation for community property purposes. Testify at trial.

        Marcus Broussard, Jr., et al vs. Martin Operating Partnership, LP, et al; Fifteenth
Judicial District Court Docket No. 83406; “F”, Parish of Vermilion, Louisiana. Valuation of
Chevron U.S.A., Inc; M-I, LLC; and Stallion Oilfield Services, Inc.

       Court Appointed – Dr. Farid Zayed vs. Cardiology Center of Acadiana, et al; United
States District Court Western District of Louisiana Docket No. 6:08-cv-0692, Lafayette,
Louisiana. Approved by Magistrate Judge Patrick Hanna to mediate such matter, successful
mediation, case settled
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VALUATION & FORENSIC SERVICES

       Melissa Kay Turner vs Robert Troy Bryan, Sr.; Sixteenth Judicial District Docket No.
98945-D, Parish of Iberia, Louisiana. Valuation of closely held business for community
property purposes, settled.

       David Kent Reed vs Peggy Renee Majure; Sixteenth Judicial District Docket No.
98930-E, Parish of Iberia, Louisiana. Valuation of closely held corporation for community
property purposes, settled.

       Valuation of closely held corporation related to the retail pharmacy industry for estate
tax purposes with value exceeding $600,000.

        Stephen Broussard and Roxanne Broussard vs Hilcorp Energy Company; Fifteenth
Judicial District Court, Parish of Vermilion Parish, Louisiana. Forensic accounting concerning
cattle operations.

       Joyce Louise Mendelson vs Robert Reed Mendelson; Fourteenth Judicial District
Docket No. 2002-003458, Parish of Calcasieu, Louisiana. Valuation of community property
along with forensic accounting related to support issues.

       William Henry Moody, III vs Jeanmarie Clark Moody; Fifteenth Judicial District
Court Docket No. 20012217 Div M2, Parish of Lafayette, Louisiana. Valuation of closely
held corporation for community property purposes, settled.

      Marylyn Janet Jones Miller vs Gregory Keith Miller; Fifteenth Judicial District Court,
Acadia Parish, Louisiana, Docket No. 60050. Valuation of closely held corporation for
community property purposes, settled.

       Valuation of closely held corporation related to the private flying industry for estate
tax purposes with value exceeding $5 Million.

       Valuation of closely held corporation in the commercial banking industry with assets
exceeding $30 million for purposes of Sub Chapter S election.

      Valuation of closely held oilfield service company for purposes of sale of business,
completed successfully with valuation exceeding $10 million.

       Valuation of closely held Ford dealership for purposes of gifting and estate planning
purposes.

       Valuation of closely held Toyota dealership for internal purposes.

       Valuation of closely held real estate corporation for estate purposes.

       Valuation of closely held telecommunication corporation for merger purposes.
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        Valuation of closely held medical services corporation for successful merger with
public corporation with assets exceeding $100 million. Value to client exceeded $3 million

       Valuation services provided to closely held pipeline company which purchased
gathering and gas transportation entities, value exceeding $35 million.

      Johnny Albert Jr. vs Bridget Gondron Albert; Judicial District Court Docket No.
107,881-E. Valuation of closely held corporation for community property purposes.

      Mona Bergeron vs. Dwayne Bergeron; Fifteenth Judicial District Court Docket No. C-
20065565M3, Parish of Lafayette, Louisiana. Valuation of closely held corporation for
community property purposes.

       Court Appointed – J.P. Edgar vs. EP Resources, Inc. and Herbert “Buddy” Payne, Jr.;
Sixteenth Judicial District Court Docket No. 108716-H, Parish of Iberia, Louisiana.
Valuation of books and records for mediation.

       Court Appointed – Randy J. Simon vs. Kim M. Simon; Fifteenth Judicial District
Court Docket No. 20091068, Parish of Lafayette, Louisiana. Valuation of closely held
corporation for community property purposes.

        Court Appointed – Rosalyn Ann Vallo Herpin vs. Thomas Herpin; Fifteenth Judicial
District Court Docket No. 89732-A, Parish of Vermilion, Louisiana. Valuation of closely held
corporation for community property purposes.

        Court Appointed – David A. Shorey vs. Cheryl L. Schaedal Shorey; Fifteenth Judicial
District Court Docket No. 06.5643, Parish of Lafayette, Louisiana. Valuation of closely held
corporation for community property purposes.

        Marcus Broussard, Jr., et al vs. Martin Operating Partnership, LP, et al; Fifteenth
Judicial District Court Docket No. 83406; “F”, Parish of Vermilion, Louisiana. Valuation of
Chevron U.S.A., Inc; M-I, LLC; and Stallion Oilfield Services, Inc.

       Court Appointed – Dr. Farid Zayed vs. Cardiology Center of Acadiana, et al; United
States District Court Western District of Louisiana Docket No. 6:08-cv-0692, Lafayette,
Louisiana. Approved by Magistrate Judge Patrick Hanna to mediate such matter, successful
mediation, case settled

       Fairfield Energy Corporation versus Anadarko Petroleum Corporation, et al; United
States District Court Western District of Louisiana Monroe Division, Civil Action No.
3:08cv757, case settled

        Asa Broussard and Paul Ed Broussard versus ConocoPhillips Co., Chevron U.S.A.,
Inc., and Columbia Gulf Transmission Company; United States District Court Western
District of Louisiana, Lafayette Division Docket No. cv06:0841, case settled
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PUBLICATIONS

     No published articles to date.

BILLING RATE

     $225.00 per hour
